f....   i   •   Case 1:15-cv-01050-RGA Document 55 Filed 01/08/18 Page 1 of 2 PageID #: 223




                                          IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF DELAWARE

                                                           x
                  NOVARTIS
                  PHARMACEUTICALS
                  CORPORATION,

                                        Plaintiff,

                                   v.
                                                               Case No. 15-1050-RGA
                  PAR PHARMACEUTICAL, INC.,

                                        Defendant.




                                                           x

                                                     STIPULATION OF DISMISSAL




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                 MEI 26371146v.I


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                 Case 1:15-cv-01050-RGA Document 55 Filed 01/08/18 Page 2 of 2 PageID #: 224




                                   Pursuant to Rules 41(a) and 41(c) of the Federal Rules of Civil Procedure, the

                 Plaintiff and Defendant hereby stipulate and agree that the above action, including all claims,

                 counterclaims and affirmative defenses, are dismissed without prejudice, and without costs,

                 disbursements or attorneys' fees to any party.

                 SO STIPULATED:


                 January 2, 2018                                     January 2, 2018

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                                                                       SO ORDERED this   --8_ day ~I) . 20,g

                                                                       ~J~
                 MEI 26371146v.l
